Case 1:20-cv-08786-GHW Document 9-5 Filed 10/26/20 Page 1 of,24. 09/27/2019

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st

NY, NY 10004
212) 943-0100

 

09/22/2019 09/27/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
09/22 Sunday 0.00 0.00
09/23 Monday 4025.50 0.00
039/24 Tuesday 3473.00 0.00
09/25 Wednesday 3342.00 0.00
09/26 Thursday 3417.00 0.00
09/27 Friday 2408.20 17256.30
Shipped Total 16665.70 Paid Total 17256.30
Delivery Charge 0.00 Credit Memo
Credit 0.00 oS
Trt tn nnn nnn Date +/- Qty Item Price Amount
Sub-Total (+) 16,665.70 0 wn ~~ nn ------ === +--+
Prev.Balance(+) 164,683.05 09/23 + 1 Gsqu ad+11.3 0.00 0.00
09/24 + 1 Ygfto cr-1.3 0.00 0.00
Payment 17,256.30 09/24 + 2 pine cr-30.6 0.00 0.00
Current Balance 164,092.45 Credit Total : 0.00
AR Aging Report Current Balance 164,092.45
Ist Week 16,665.70 Received Amount (- )
2nd Week 294.40 This Week Balance
3rd Week & Over 147,132.35 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
 

 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 9-5 Figg. l0/AGi20, page 2 of 24 4438-1053
INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336074

#100 Broad st

NY, NY 10004 Date 09/23/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00] BEETS 25LB LBAG CAN 1 9.00 9.00
GRANNY SMITH 80 USA 2 40.00 80.00] PEPPER GREEN GR USA 2 11.00 22.00
POMEGRANATES Cc USA 1 48.00 48.00 | PEPPER RED RED USA 3 20.00 60.00
SEEDLESS GREEN GR USA 1 24.00 24.00] YELLOW PEPPER YELL USA 2 10.00 20.00
SEEDLESS RED RED USA 1 24.00 24.00] JALAPINO JALPN HOL 1 13.00 13.00
PEACH LOOSE c USA 1 26.00 26.00 | CUCUMBER CUM MEX 2 15.00 30.00
KIWI LOOSE LLOO USA 1 32.00 32.00 | SQUASH GREEN GR USA 1 10.00 10.00
WATERMELON SEED USA 1 36.00 36.00 | SQUASH YELLOW YEL MEX 1 14.00 14.00
CANTALOUP Cc USA 1 20.00 20.00 | WATERCRESS Béew MEX 1 19.00 19.00
HONEY DEW c USA 1 12.00 12.00} GARLIC JAR JBOX USA 1 56.00 56.00
JUICE ORANGE 100 USA 3 29.00 87.00 | SHANGHAI BOKCHOY SH/BK USA 1 17,00 17.00
SUNKIST ORANGE 56 USA 3 27.00 81.00] GINGER 10LB 10LB CHN 1 12.00 12.00
LEMON SK SK/L USA 1 33.00 33.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
STRAWBERRY CAL USA 10 18.00 180.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
RASPBERRY A USA 8 33.00 264.00] PORTABELLA MUS M PO#2 USA 4 9.50 38.00
BLUEBERRY A USA 3 13.00 39.00 | EGGPLANT c USA 1 11.00 11.00
BLACKBERRY A USA 3 15.00 45.00 | EGGPLANT ITALIAN ITAL USA 1 12.00 12.00
AVOCADO HASS# RIPE MEX 8 40.00 320.00] POTATO IDAHO 90 USA 3 21.00 63.00
PAPAYA BIG BOX RED MEX 1 30.00 30.00 | POTATO RED A BOX BOX A USA 1 28.00 28.00
MANGO RIPE M/RIP MEX 15 8.50 127.50] CARROT LOOSE LOOSE USA 3 26.00 78.00
LIME 48 MEX 1 12.00 12.00 | ONION SPANISH SPI USA 2 14.00 28.00
TOMATO #1 5X6 USA 4 18.00 72.00 |) ONION RED RD-J USA 2 11.00 22.00
TOMATO PLUM Cc MEX 2 18.00 36.00] TOFU Ss USA 1 13.50 13.50
TOMATO CHERRY Cc USA % 272.00 17.00 | BANANA BNA ECU 3 15,50 46.50
TOMATO GRAPE R USA 2 9.00 18.00 | PLANTAIN YELLOW ec ECU 1 37.00 37.00
TOMATO GRAPE YE USA 1 18.00 18.00 | MESCLUN SALAD MESC USA 22 7.00 154.00
LETTUCE . ICEBERG A USA 1 21.00 21.00 | CELERY CHOP Box USA 1 36.00 36.00
ROMAINE CA-A USA 4 20.00 80.00 | EGG EX/LOOSE EXLOO USA 7 21.00 147.00
CABBAGE GR GR USA 1 12.00 12.00] HERBS ROSEMARY ROSE CHL 1 7.50 7.50
CAULIFLOWER c USA 2 19.00 38.00] SCALLION KING USA 3 14.00 42.00
BROCCOLI CROWN CROW USA 5 19.00 95.00
RABE ANDY USA 2 35.00 70.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY e USA 1 19.00 19.00
SPINACH BUSH USA 1 22.00 22.00 Credit : -11.30
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN LEAF GR USA 1 17.00 17.00
GREEN COLLARD COALD USA 1 14.00 14.00 Total Boxes: 214.0
GREEN KALE KALE USA 5 14.00 70.00 Delivery $ : 278.20
STRINGBEAN BEAN USA 1 15.00 15.00
ALFALFA CUP USA 1 12.00 12.00 Shipment 4,025.50
BRUSSEL SP LOOSE USA 2 22.00 44.00 | ---------------------------------------=-+--+-+-
RADICCIO.. RD/CO USA 1 14.00 14.00
MINT A USA I: £300 13.00 Cash Receipt:
BASIL A USA 2 17.00 34.00 | -------------------------------------~--------
BABY ARRUGULA BA USA 12 10.50 126.00
PARSLEY PLAIN FULL USA 1 17.00 17.00 Signature
CILANTRO Cc USA 1 12.00 12.00
Printed on Oct 12, 2020 keeee* Balance : 164,683.05

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-5 Files 10/26/20-288age 3 of BA: 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336150

#100 Broad st

NY, NY 10004 Date 09/24/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 35.00 70.00 | MUSH SPECIAL 10SP USA 3 17.50 52.50
STAR RUBY G USA 2 33.00 66.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SEEDLESS RED RED USA 1 24.00 24.00 | YAM #1 YAM USA 1 22.00 22.00
KIWI LOOSE LLOO USA 1 32.00 32.00] POTATO IDAHO 90 USA 3 21.00 63.00
WATERMELON SEED USA 2 36.00 72.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
CANTALOUP Cc USA 1 20.00 20.00 | ONION SPANISH SPI USA 2 14.00 28.00
HONEY DEW c USA 1 13.00 13.00 | ONION RED RD-J USA 2 11.00 22.00
JUICE ORANGE 100 USA 2 30.00 60.00 | PINE GOLDEN GOL USA qq 13,00 91.00
SUNKIST ORANGE 56 USA 2 27.00 54.00 | BANANA BNA ECU 3 15.50 46.50
LEMON SK SK/L USA 1 33.00 33.00 | MESCLUN SALAD MESC USA 11 7.00 77.00
STRAWBERRY CAL USA 9 17.00 153.00] EGG EX/LOOSE EXLOO USA 8 21.00 168.00
RASPBERRY A USA 6 33.00 198.00 | MONEY PICK UP $$$ Oo 0.00 0.00
BLUEBERRY A USA 8 13.00 104.00] SCALLION KING USA 2 13.00 26.00
BLACKBERRY A USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 8 40.00 320.00
PAPAYA RED RIPE RIPE MEX 1 30.00 30.00
MANGO RIPE M/RIP MEX 20 8.50 170.00
TOMATO #1 5X6 USA 3 17.00 51.00
TOMATO PLUM Cc MEX 2 18.00 36.00
TOMATO CHERRY c USA 2 17.00 34.00
TOMATO GRAPE R USA 3 9.00 27.00
TOMATO GRAPE YE USA 1 0.00 0.00
LETTUCE . ICEBERG A USA 1 21.00 21.00
ROMAINE CA-A USA 4 21.00 84.00
CABBAGE RED RED USA 1 19.00 19.00
CAULIFLOWER c USA 1 18.00 18.00
BROCCOLI CROWN CROW USA 4 19.00 76.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY c USA 1 19.00 19.00
SPINACH BUSH USA 2 22.00 44.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 5 14.00 70.00
STRINGBEAN BEAN USA 1 15.00 15.00
ENDIVES A USA 1 17.00 17.00 Credit 31.90
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1. 22.00 22.00
SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00 Total Boxes: 193.0
BABY ARRUGULA BA USA 8 10.50 84.00] Delivery $ : 250.90
CILANTRO c USA 1 12.00 12.00
BEETS 25LB LBAG CAN 1 9.00 9.00 Shipment : 3,473.00
PEPPER GREEN GR USA 2 11.00 22.00 | ---- on rr rence s cscs cses=
PEPPER RED RED USA 3 19.00 57.00
YELLOW PEPPER YELL USA 2 10.00 20.00 Cash Receipt:
JALAPINO JALPN HOL 1 14.00 LA. 00 | seems srsene see nee
CUCUMBER CUM MEX 3 16.00 48.00
GARLIC JAR JBOX USA 1 58.00 58.00 Signature
MUSHROOM WASH 10LB USA 2 A17200 34.00
Printed on Oct 12, 2020 *#eeee%e Balance : 168,708.55

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)\(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-5 FlledetO/26J20-2Rege 4 of BA: 347)438-1053

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336198

#100 Broad st

NY, NY 10004 Date 09/25/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 37.00 74.00 | CUCUMBER CUM MEX 2 16.00 32.00
POMEGRANATES Cc USA 1 48.00 48.00} SQUASH GREEN GR USA 1 10.00 10.00
SEEDLESS GREEN GR USA 1 27.00 27.00 | SQUASH YELLOW YEL MEX 1 13.00 13.00
SEEDLESS RED RED USA 1 24.00 24.00] GARLIC JAR JBOX USA 1 60.00 60.00
PEACH LOOSE c USA 1 27.00 27.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
WATERMELON SEED USA 2 37.00 74.00 | PORTABELLA MUS M PO#2 USA 3 9.50 28.50
CANTALOUP c USA 1 19.00 19.00 | POTATO IDAHO 90 USA 2 20.00 40.00
HONEY DEW c USA 1 13.00 13.00] POTATO RED A BOX BOX A USA 1 28.00 28.00
JUICE ORANGE 100 USA 2 30.00 60.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
SUNKIST ORANGE 56 USA 2 27.00 54.00] CARROT HNDPLD BABY HNBA USA 4 12.00 48.00
STRAWBERRY CAL USA 8 15.00 120.00] ONION SPANISH SPI USA 2 14.00 28.00
RASPBERRY A USA 6 32.00 192.00] ONION RED RD-J USA 2 11.00 22.00
BLUEBERRY A USA 8 9.00 72.00 | PINE GOLDEN GOL USA 3 12.00 36.00
BLACKBERRY A USA 3 12:00 36.00} BANANA BNA ECU 3 15,50 46.50
AVOCADO HASS# RIPE MEX 7 39.00 273.00] YUCA DOM EUC 1; 25200 25.00
PAPAYA RED RIPE RIPE MEX 1 29.00 29.00 | MESCLUN SALAD MESC USA 22 7.00 154.00
MANGO RIPE M/RIP MEX 10 8.50 85.00] EGCG EX/LOOSE EXLOO USA 8 21.00 168.00
TOMATO #1 5X6 USA 3 17.00 51.00] YUKON A BOX Y ABO USA 1 33.00 33.00
TOMATO PLUM é MEX 2 18.00 36.00 | SCALLION KING USA 1 13.00 13.00
TOMATO CHERRY ¢ USA 1 197.06 17.00
TOMATO GRAPE R USA aL 9.00 9.00
TOMATO GRAPE YE USA 1 16.00 16.00
TOMATILLO ORG MEX 1 11.00 11.00
ROMAINE CA-A USA 4 20.00 80.00
CABBAGE GR GR USA 1 12.00 22:..00
CAULIFLOWER Cc USA 1 16.00 16.00
BROCCOLI CROWN CROW USA 5 18.00 90.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY c USA 1 19.00 19.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN COLLARD COALD USA i 13.00 13.00
GREEN KALE KALE USA 5 14.00 70.00
STRINGBEAN BEAN USA L 26:00 16.00
SNOWPEA A USA 1 19.00 19.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 .22.00 44.00 Total Boxes: 190.0
RADICCIO.. RD/CO USA 1 14.00 14.00| Delivery $ : 247.00
BASIL A USA 1 15:06 15.00
BABY ARRUGULA BA USA 8 10.50 84.00 Shipment : 3,342.00
PARSLEY PLAIN FULL USA 1 17.00 17.00 | --------------~-------------------------------
CILANTRO Cc USA & 12.00 12.00
BEETS 25LB LBAG CAN 1 9.00 9.00 Cash Receipt:
PEPPER GREEN GR USA 2 22.00 8 22.00 | emem nnn erent tennessee ene
PEPPER RED RED USA 2 20.00 40.00
YELLOW PEPPER YELL USA 2 9.00 18.00 Signature
JALAPINO JALPN HOL 1 14.00 14.00

 

 

 

Printed on Oct 12, 2020

kkkkkke Balance : 172,181.55

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 9-5 Piet 10/267@02sPage 5 off24: 347)438-1053
INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336283

#100 Broad st

NY, NY 10004 Date 09/26/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00] GINGER 10LB 10LB CHN 1 12.00 £12.00
GRANNY SMITH 80 USA 1 36.00 36.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
GALA APPLE 80 USA 1 38.00 38.00) MUSH SPECIAL 10SP USA 4 17.50 70.00
STAR RUBY Cc USA 2 32.00 64.00] PORTABELLA MUS M PO#2 USA 4 9.50 £38.00
POMEGRANATES Cc USA 1 42.00 42.00] EGGPLANT ITALIAN ITAL USA 1 12.00 12.00
SEEDLESS RED RED USA 1 23.00 23.00 | POTATO IDAHO 90 USA 3 20.00 60.00
WATERMELON SEED USA 2 37.00 74.00] POTATO RED A BOX BOX A USA 1 24.00 £24.00
CANTALOUP c USA 1 18.00 18.00] CARROT LOOSE LOOSE USA 1 26.00 26.00
HONEY DEW c USA 1 13.00 13.00] ONION SPANISH SPI USA 2 14.00 28.00
JUICE ORANGE 100 USA 2 29.00 £58.00]| ONION RED RD-J USA 2 11.00 22.00
SUNKIST ORANGE 56 USA 2 27.00 54.00] PINE GOLDEN GOL USA 6 TL.00 66.00
LEMON SK SK/L USA 1 36.00 36.00] BANANA BNA ECU 3 15.50 £46.50
STRAWBERRY CAL USA 10 13.00 130.00] PLANTAIN YELLOW C ECU 1 35.00 35.00
RASPBERRY A USA 6 31.00 186.00] MESCLUN SALAD MESC USA 18 7.00 126.00
BLUEBERRY A USA 6 11.00 £66.00] EGG EX/LOOSE EXLOO USA 8 21.00 168.00
BLACKBERRY A USA 3 12.00 36.00 | MONEY PICK UP $$$ 0 0.00 0.00
AVOCADO HASS# RIPE MEX 6 39.00 234.00] ORDER PAPER OR/ PE 0 0.00 0.00
PAPAYA RED RIPE RIPE MEX 1 30.00 30.00) SCALLION KING USA 2 12.00 £24.00
MANGO RIPE M/RIP MEX 20 # 8.50 170.00
TOMATO #1 5x6 USA 4 16.00 £464.00
TOMATO PLUM c MEX 2 18.00 36.00
TOMATO GRAPE R USA 3 9.00 27.00
TOMATO GRAPE YE USA 1 16.00 16.00
LETTUCE . ICEBERG A USA 1 19.00 19.00
ROMAINE CA-A USA 4 19.00 £76.00
CAULIFLOWER Cc USA 2 18.00 36.00
FLOWER ORCHID 100 USA 2 25.00 £50.00
BROCCOLI CROWN CROW USA 5 18.00 90.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 18.00 72.00
SPINACH BUSH USA 1 23.00 23.00
SPINACH BABY BA/SP USA 10 6.50 £65.00
GREEN LEAF GR USA 1 17.00 £17.00
GREEN COLLARD COALD USA 1 13.00 13.00
GREEN KALE KALE USA 4 14.00 56.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 22.00 44.00
RADICCIO.. RD/CO USA 1 14.00 14.00] Total Boxes: 195.0
BABY ARRUGULA BA USA 6 10.50 63.00 Delivery $ : 253.50
CILANTRO Cc USA 1 12.00 12.00
BEETS 25LB LBAG CAN B 9.00 9.00 Shipment : 3,417.00
PEPPER GREEN GR USA 1 11.00 11.00 | -------------------- nnn nnn nnn --- HHH
PEPPER RED RED USA 2 19.00 38.00
YELLOW PEPPER YELL USA 2 9.00 18.00 Cash Receipt:
CUCUMBER CUM MEX 2 17.00 342.00 | ern cs eet RoE ET
SQUASH GREEN GR USA 1 10.00 10.00
SQUASH YELLOW YEL MEX 1 13.00 13.00] Signature ¥
GARLIC JAR JBOX USA 1 60.00 60.00
Printed on Oct 12, 2020 week Balance : 175,523.55

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 9-5 Pest 10/29720-28Page 6 ofFad: 347)438-1053
INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336336
#100 Broad st
NY, NY 10004 Date 09/27/2019

Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount

RED EX FANCY 80 USA 1 31.00 31.00 | EGG BROWN/CT BR/CT USA 0 0.00 0.00

GRANNY SMITH 80 USA 1 36.00 36.00 | YUKON A BOx Y ABO USA 1 30.00 30.00

STAR RUBY eG USA 2 33.00 66.00 | MONEY PICK UP 885 0 0.00 0.00

SEEDLESS RED RED USA 1 23.00 23.00 | ORDER PAPER OR/ PE 0 0.00 0.00

KIWI LOOSE LLOO USA 1 34.00 34.00 | SCALLION KING USA 1 12.00 12.00

WATERMELON SEED USA 2 37.00 74.00

HONEY DEW Cc USA L 12,00 12.00

JUICE ORANGE 100 USA 2 30.00 60.00

SUNKIST ORANGE 56 USA 2 27.00 54.00

STRAWBERRY CAL USA 10 15.00 150.00

RASPBERRY A USA 4 33.00 132.00

BLUEBERRY A USA 6 11.00 66.00

BLACKBERRY A USA 2 14.00 28.00

AVOCADO HASS c USA 8 36.00 288.00

AVOCADO HASS# RIPE MEX 1 39.00 39.00

PAPAYA RED RIPE RIPE MEX 1 30.00 30.00

MANGO RIPE M/RIP MEX 10 8.50 85.00

LIME 48 MEX 1 11.00 11.00

TOMATO #1 5X6 USA 1 15.00 15.00

LETTUCE . ICEBERG A USA 1 19.00 19.00

ROMAINE CA-A USA 3 19.00 57.00

SPINACH BUSH USA 1 23.00 23.00

SPINACH BABY BA/SP USA 6 6.50 39.00

GREEN KALE KALE USA 2 13.00 26.00

SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00

CILANTRO c USA 1 12.00 12.00

PEPPER GREEN GR USA 1 11.00 11.00

PEPPER RED RED USA 2 19.00 38.00

YELLOW PEPPER YELL USA 1 9.00 9.00

JALAPINO JALPN HOL 1 14.00 14.00

CUCUMBER CUM MEX 2 15.00 30.00

SQUASH GREEN GR USA 1 10.00 10.00

GARLIC JAR JBOX USA 1 58.00 58.00

MUSHROOM WASH 10LB USA 1 17.00 700

MUSH SPECIAL 10SP USA 3 217.50 52.50

YAM #1 YAM USA i 22.00 22.00

EGGPLANT Cc USA 1 11.00 11.00

POTATO IDAHO 90 USA 2 20.00 40.00 Total Boxes: 119.0

CARROT LOOSE LOOSE USA 2 26.00 52.00 Delivery $ 154.70

ONION SPANISH SPI USA 2 14.00 28.00

ONION RED RD-J USA 2 11.00 22.00 Shipment 2,408.20

TOFU s USA 1 13.50 13.50 | =-=-S2s555-3- See eae ee

PINE GOLDEN GOL USA 2 11.00 22.00

BANANA BNA ECU 2 15.50 31.00 Cash Receipt:

BANANA Y.G Y+G ECU 1 15.50 15,50 | sHsp iSeseesa eee See eee a a ee

PLANTAIN YELLOW Cc ECU 1 35.00 35.00

MESCLUN SALAD MESC USA 4 7.00 28.00 Signature

EGG EX/LOOSE EXLOO USA 11 21.00 231.00

Printed on Oct 12, 2020 xekkk* Balance : 178,940.55

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 1:20-cv-08786-GHW Document 9-5 Filed 10/26/20 Page 70t24. gayno1g
K&S
22-19 160 Street
Whitestone, NY 11357
Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st
NY, NY 10004 09/29/2019 10/04/2019
212) 943-0100
Shipped Amont Payment
09/29 Sunday 0.00 0.00
09/30 Monday 4133.80 0.00
10/01 Tuesday 3459.80 0.00
10/02 Wednesday 3346.30 0.00
10/03. Thursday 3094.20 0.00
10/04 Friday 2601.30 17689.70
Shipped Total 16635.40 Paid Total 17689.70
Delivery Charge 0.00 Credit Memo
Credit 0.00
Totten nn nnn nnn Date +/- Qty Item Price Amount
Sub-Total (+) 16,635.40 0 -==~--~-----~- === +--+
Prev.Balance(+) 164,092.45 No credit has been recorded
Payment 17,689.70
Current Balance 163,038.15
AR Aging Report Current Balance 163,038.15
Ist Week 16,635.40 Received Amount (-)
2nd Week 0.00 This Week Balance
3rd Week & Over 146,402.75 Received By
Paid By

The perishable agricultural commodities listed on this invoice are sold subj

commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodi
products derived from these commodities and any receivables or proceed

All interest, costs, attorney’

 

 

 

 

ect to the statutory trust authorized by section 5(c) of the perishable agricultural
ties retains a trust claim over these commodities, all inventories of food or other
from the sale of these commodities until full payment is recieved.

S fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
 

 

 

 

 

 

 

K&§ Case 1:20-cv-08786-GHW Document 9-5 FildehOAGR-oftage 8 Of 84. 547438 1053
INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336384

#100 Broad st

NY, Ny 10004 Date 09/30/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 2 31.00 31.00} PEPPER GREEN GR USA 2 11.00 22.00
GRANNY SMITH 80 USA 2 36.00 72.00] PEPPER RED RED USA 2 19.00 38.00
GALA APPLE 80 USA 1 38.00 38.00] YELLOW PEPPER YELL USA 2 9.00 18.00
STAR RUBY Cc USA 2 (33.00 66.00 | JALAPINO JALPN HOL 1 14.00 14.00
POMEGRANATES c USA 1 40.00 40.00] cucUMBER CUM MEX 2 16.00 32.00
SEEDLESS GREEN GR USA IL 27,00 27.00 | SQUASH GREEN GR USA 1 10.00 10.00
SEEDLESS RED RED USA 1 22.00 22.00) SQUASH YELLOW YEL MEX 1 11.00 11.00
PEACH LOOSE ic USA 1 28.00 28.00] GARLIC JAR JBOX USA 1 58.00 58.00
KIWI LOOSE LLOO USA 1 35.00 35.00} SHANGHAI BOKCHOY SH/BK USA 1 18.00 18.00
WATERMELON SEED USA 1, 37.00 37.00 | GINGER c30 USA 1 25.00 25.00
CANTALOUP & USA 1 18.00 18.00 | MUSHROOM WASH 10LB USA 2 2700 34.00
HONEY DEW c USA 1 12.00 12.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
JUICE ORANGE 100 USA 3 30.00 90.00 | PORTABELLA MUS M PO#2 USA 3 9.50 28.50
SUNKIST ORANGE 56 USA 3 27.00 81.00 | EGGPLANT c USA 1 13.00 13.00
LEMON SK SK/L USA 2 36.00 72.00| EGGPLANT ITALIAN ITAL USA 1 14.00 14.00
STRAWBERRY CAL USA 10 21.00 210.00] POTATO IDAHO 90 USA 3 19.00 57,00
RASPBERRY A USA 7 29.00 203.00] CARROT LOOSE LOOSE USA 1 26.00 26.00
BLUEBERRY A USA 8 15.00 120.00] ONION SPANISH SPI USA 2 14.00 28.00
BLACKBERRY A USA 3 27.00 81.00 | ONION RED RD-J USA 2 11.00 22.00
AVOCADO HASS# RIPE MEX 8 39.00 312.00] PINE GOLDEN GOL USA 6 12.00 72.00
PAPAYA BIG BOX RED MEX 1 27.00 £27.00] BANANA BNA ECU 3 15.50 46.50
MANGO RIPE M/RIP MEX 10 8.50 85.00 |} MESCLUN SALAD MESC USA 22 7.00 154.00
TOMATO #1 5X6 USA 4 16.00 64.00 | CELERY CHOP BOX USA 1 36.00 36.00
TOMATO PLUM c MEX 2 17.00 34.00] EGG EX/LOOSE EXLOO USA 8 21.00 168.00
TOMATO CHERRY Cc USA 2 11.00 22.00] EGG BROWN/cT BR/CT USA 1 34.00 34.00
TOMATO GRAPE R USA 3 10.00 30.00 | HERBS ROSEMARY ROSE CHL 1 7.50 750
YEIIOW. TOMATO YTO USA 1 25.00 25.00 | HERBS CHIVE CHIV USA 1 10.00 10.00
LETTUCE . ICEBERG A USA 1 20.00 20.00]! SCALLION KING USA 2 12.00 24.00
ROMAINE CA-A USA 4 20.00 80.00
CABBAGE GR GR USA 1 12.00 12.00
CAULIFLOWER c USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 5 19.00 95.00
RABE ANDY USA 2 35.00 70.00
ASPARAGUS LG USA 4 20.00 80.00
CELERY c USA 1 19.00 19.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 16 6.50 104.00
GREEN COLLARD COALD USA 1 13.00 23.00 Total Boxes: 221.0
GREEN KALE KALE USA 5 14.00 70.00] Delivery $ : 287.30
STRINGBEAN BEAN USA 1 14.00 14.00
SNOWPEA A USA 1 21.00 21.00| Shipment 4,133.80
ALFALFA CUP USA 1 12.00 12.00 | ----------------------------------------------
BRUSSEL SP LOOSE USA 2 24.00 48.00
RADICCIO.. RD/CO USA 1 14.00 14.00 Cash Receipt:
MINT A USA 1 13.00 13.00 | --------------------------=-=-=------------------
BASIL A USA 1 17.00 17.00
BABY ARRUGULA BA USA 10 10.50 105.00 Signature
BEETS 25LB LBAG CAN 1 9.00 9.00

2020 #*eee* Balance : 164,092.45

Printed on Oct 12,

The perishable agricultural commoditics listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-5 itedet0/@6/20-260ege 9 of BA: 347)438-1053

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336456

#100 Broad st

NY, NY 10004 Date 10/01/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00} MUSH SPECIAL 10SP USA 4 17.50 70.00
GRANNY SMITH 80 USA 2 36.00 72.00 | PORTABELLA MUS M PO#2 USA 3 9.50 28.50
GALA APPLE 80 USA 1 38.00 38.00 | POTATO IDAHO 90 USA 2 19.00 38.00
STAR RUBY Cc USA 2 33.00 66.00 | POTATO RED A BOX BOX A USA 1 28.00 28.00
POMEGRANATES Gc USA 1 36.00 36.00 | CARROT LOOSE LOOSE USA 3 26.00 78.00
KIWI LOOSE LLOO USA 1. 35.00 35.00 | ONION SPANISH SPI USA 2 14.00 28.00
WATERMELON SEED USA Li. 372060 37.00} ONION RED RD-J USA 2 11.00 22.00
CANTALOUP Cc USA 1 17.00 17.00 | TOFU s USA i 123.50 13.50
HONEY DEW Cc USA 1 12.00 12.00 | PINE GOLDEN GOL USA 5 12.00 60.00
JUICE ORANGE 100 USA 3: 36.00 90.00 | BANANA BNA ECU 3 ‘15.50 46.50
SUNKIST ORANGE 56 USA 3 27.00 81.00] MESCLUN SALAD MESC USA 12 7<00 84.00
STRAWBERRY CAL USA 10 17.00 170.00] EGG EX/LOOSE EXLOO USA 8 21.00 168.00
RASPBERRY A USA 7 30.00 210.00] SCALLION KING USA 3 12.00 36.00
BLUEBERRY A USA 5 12.00 60.00
BLACKBERRY A USA 3 30.00 90.00
AVOCADO HASS c USA 8 36.00 288.00
PAPAYA RED RIPE RIPE MEX 1 30.00 30.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
TOMATO #1 5X6 USA 4 16.00 64.00
TOMATO PLUM c MEX 2 18.00 36.00
TOMATO GRAPE R USA 1 10.00 10.00
TOMATO GRAPE YE USA 1 19.00 19.00
ROMAINE CA-A USA 4 20.00 80.00
CABBAGE GR GR USA 1 12.00 12.00
CAULIFLOWER c USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 4 18.00 72.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 20.00 80.00
CELERY Cc USA 1 19.00 19.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 5 13.00 65.00
STRINGBEAN BEAN USA 1 14.00 14.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 24.00 48.00
SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 6 10.50 63.00 Total Boxes: 181.0
PARSLEY PLAIN FULL USA 1 18.00 18.00 Delivery $ : 235.30
CILANTRO Gc USA 2 12.00 24.00
BEETS 25LB LBAG CAN 1 9.00 9.00 Shipment : 3,459.80
PEPPER GREEN GR USA 1 21.00 11.00 | ----------- 3 = -- -- = -----
PEPPER RED RED USA 3 19.00 57.00
YELLOW PEPPER YELL USA 1 9.00 9.00 Cash Receipt:
CUCUMBER CUM MEX 2 16.00 32.00 | qr rrr rrr tt enn ee
SQUASH GREEN GR USA 1 10.00 10.00
GARLIC JAR JBOX USA 1 58.00 58.00 Signature
MUSHROOM WASH 10LB USA 2 17.00 34.00
Printed on Oct 12, 2020 *kkeee Balance : 168,226.25

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 9-5 Fifednd0/agdp@7-Fage 10 of 24. 347438-1053
INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336534

#100 Broad st

NY, NY 10004 Date 10/02/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 34.00 68.00] SQUASH GREEN GR USA 1 10.00 10.00
STAR RUBY c USA 2 33.00 66.00 | GARLIC JAR JBOX USA 1 58.00 58.00
SEEDLESS GREEN GR USA 1 26.00 26.00} GINGER 10LB 10LB CHN T 12:00 12.00
SEEDLESS RED RED USA 1 22.00 22.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
PEACH LOOSE Cc USA 1 28.00 28.00} MUSH SPECIAL 10SP USA 3 17.50 52.50
WATERMELON SEED USA 1 37.00 37.00 | PORTABELLA MUS M Po#2 USA 4 9.50 38.00
HONEY DEW Cc USA 1 12.00 12.00] YAM #1 YAM USA 1 22.00 22.00
JUICE ORANGE 100 USA 3 30.00 90.00] POTATO IDAHO 90 USA 2 19.00 38.00
SUNKIST ORANGE 56 USA 3 27.00 81.00] CARROT LOOSE LOOSE USA 2 26.00 52.00
LEMON SK SK/L USA 1 36.00 36.00} ONION SPANISH SPI USA 2 14.00 28.00
STRAWBERRY CAL USA 6 15.00 90.00 |) ONION RED RD-J USA 2 11.00 22.00
RASPBERRY A USA 4 27.00 108.00 | PINE GOLDEN GOL USA 5 11.00 55.00
BLUEBERRY A USA 4 10.00 40.00 | BANANA BNA ECU 3 15.50 46.50
BLACKBERRY A USA 2 16.00 32.00 | PLANTAIN YELLOW c ECU 1 32.00 32.00
AVOCADO HASS# RIPE MEX 8 38.00 304.00] MESCLUN SALAD MESC USA 22 7.00 154.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00] EGG EX/LOOSE EXLOO USA 7 21.00 147.00
MANGO RIPE M/RIP MEX 15 8.50 127.50] YUKON A BOX Y ABO USA 1 32.00 32.00
TOMATO #1 5X6 USA 1 15.00 15.00 | SCALLION KING USA 2 12.00 24.00
TOMATO PLUM c MEX 2 18.00 36.00
TOMATO CHERRY c USA 2 14.00 28.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 17.00 Lis00
LETTUCE . ICEBERG A USA 1 19.00 19.00
ROMAINE CA-A USA 4 19.00 76.00
CAULIFLOWER Cc USA 2 16.00 32.00
BROCCOLI CROWN CROW USA 4 18.00 72.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY c USA 1 19.00 19.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 16 6.50 104.00
GREEN LEAF GR USA 1 17.00 17.00
GREEN COLLARD COALD USA 1 22..00 12.00
GREEN KALE KALE USA &S 13.00 65.00
STRINGBEAN BEAN USA 1 14.00 14.00
ENDIVES A USA 1 16.00 16.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 25.00 50.00 Total Boxes: 196.0
MINT A USA 1 13.00 13.00] Delivery $ 254.80
BASIL A USA 1 17.00 17.00
BABY ARRUGULA BA USA 10 10.50 105.00 Shipment 3,346.30
CILANTRO Cc USA 1 12.00 12.00 | -H rrr nnn nnn nnn nnn n= = 5 =
BEETS 25LB LBAG CAN 1 9.00 9.00
PEPPER GREEN GR USA 2 11.00 22.00 Cash Receipt:
PEPPER RED RED USA 2 18.00 36.00 | ----------------------------------------------
YELLOW PEPPER YELL USA 2 9.00 18.00
JALAPINO JALPN HOL 1 14.00 14.00 Signature
CUCUMBER CUM MEX 2 14.00 28.00
Printed on Oct 12, 2020 *#kkkKK Balance : 171,686.05

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

ShipTo: # 1TEB

#100 Broad st
NY, NY 10004

Invoice No.

Date

Case 1:20-cv-08786-GHW Document 9-5 Fifthohd 0/2 @7-Rege 11 Of 4: 347)438-1053
INVOICE

100 BROAD STREET LLC (ESSEN)

336569

10/03/2019

 

 

 

 

 

 

Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 34.00 68.00 | CARROT LOOSE LOOSE USA 3 26.00 78.00
GALA APPLE BO USA 1 38.00 38.00) ONION SPANISH SPI USA 2 14.00 28.00
STAR RUBY Cc USA 1 33.00 33.00 | ONION RED RD-J USA 2 11.00 22.00
KIWI LOOSE LLOO USA 1 34.00 34.00 | PINE GOLDEN GOL USA 4 11.00 44.00
WATERMELON SEED USA 1 37.00 37.00 |) BANANA BNA ECU 2 15.50 31.00
CANTALOUP Cc USA L 27.00 17.00 | MESCLUN SALAD MESC USA 8 7.00 56.00
HONEY DEW c USA i 12,00 12.00 | EGG EX/LOOSE EXLOO USA 8 21.00 168.00
JUICE ORANGE 100 USA 2 30.00 60.00 | MONEY PICK UP sss 0 0.00 0.00
SUNKIST ORANGE 56 USA 2 27.00 54.00 | SCALLION KING USA 2 12.00 24,00
STRAWBERRY CAL USA 7 14.00 98.00

RASPBERRY A USA 4 26.00 104.00

BLUEBERRY A USA 6 10.00 60.00

BLACKBERRY A USA 4 18.00 72.00

AVOCADO HASS Cc USA 8 37.00 296.00

AVOCADO HASS# RIPE MEX 6 38.00 228.00

PAPAYA RED RIPE RIPE MEX 1 26.00 26.00

MANGO RIPE M/RIP MEX 15 8.50 127.50

TOMATO #1 5X6 USA 4 15.00 60.00

TOMATO PLUM c MEX 2 18.00 £36.00

TOMATO CHERRY c USA 1 14.00 14.00

TOMATO GRAPE R USA 2 10.00 20.00

TOMATO GRAPE YE USA 1 17.00 17.00

ROMAINE CA-A USA 4 20.00 80.00

CABBAGE GR GR USA 1 11.00 11.00

CABBAGE RED RED USA 1 18.00 18.00

FLOWER ORCHID 100 USA i 25:60 25.00

BROCCOLI CROWN CROW USA 4 18.00 72.00

RABE ANDY USA 1 35.00 35.00

ASPARAGUS LG USA 3 19.00 57.00

CELERY Cc USA 1 18.00 18.00

SPINACH BUSH USA 1 22.00 22.00

SPINACH BABY BA/SP USA 0 0.00 0.00

GREEN KALE KALE USA 3 13.00 39.00

BRUSSEL SP LOOSE USA 2 25.00 50.00

BABY ARRUGULA BA USA 10 10.50 105.00

BEETS 25LB LBAG CAN 2 9.00 18.00

PEPPER GREEN GR USA 1 11.00 £11.00

PEPPER RED RED USA 2 18.00 36.00 Total Boxes: 159.0

YELLOW PEPPER YELL USA 2 9.00 18.00 Delivery § 206.70

JALAPINO JALPN HOL 1 14.00 14.00

CUCUMBER CUM MEX 2 14.00 28.00 Shipment : 3,094.20

SQUASH GREEN GR USA 1 10.00 10.00} ----------------------------------------------

SQUASH YELLOW YEL MEX iy absOO 11.00

GARLIC JAR JBOX USA 1 58.00 58.00 Cash Receipt:

MUSHROOM WASH 10LB USA 3 17.00 51.00 | mor rr rrr rr nnn nnn een nnn nnn nn

MUSH SPECIAL 10SP USA 4 17.50 £70.00

POTATO IDAHO 90 USA 2 19.00 38.00 Signature

POTATO RED A BOX BOX A USA 1 30.00 30.00

Printed on Oct 12, 2020 **e%e** Balance : 175,032.35

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 9-5 Fibgghd 0/2 G20, Rage 12 of 44.
INVOICE

347)438-1053

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336692
#100 Broad st
NY, NY 10004 Date 10/04/2019

Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount

RED EX FANCY 80 USA a. (3100 31.00 | CIDER 1/2G USA 1 27.00 27.00

GRANNY SMITH 80 USA 1 33.00 33.00 | MESCLUN SALAD MESC USA 12 7.00 84.00

STAR RUBY c USA 1 33.00 33.00 | EGG EX/LOOSE EXLOO USA 8 21.00 168.00

SEEDLESS RED RED USA 1 23.00 23.00 | MONEY PICK UP $s$s 0 0.00 0.00

WATERMELON SEED USA Li. 37.00 37.00 | SCALLION KING USA 1 13.00 13.00

CANTALOUP c USA 1 18.00 18.00

JUICE ORANGE 100 USA 5 30.00 150.00

SUNKIST ORANGE 56 USA 3 28.00 84.00

LEMON SK SK/L USA 1 37.00 37.00

STRAWBERRY CAL USA 10 15.00 150.00

RASPBERRY A USA 6 25.00 150.00

BLUEBERRY A USA 6 11.00 66.00

BLACKBERRY A USA 2 18.00 36.00

AVOCADO HASS ¢ USA 7 38.00 266.00

PAPAYA RED RIPE RIPE MEX 1 26.00 26.00

MANGO RIPE M/RIP MEX 10 8.00 80.00

TOMATO #1 5X6 USA 1 16.00 16.00

TOMATO PLUM c MEX 1 18.00 18.00

TOMATO GRAPE R USA 2 10.00 20.00

LETTUCE . ICEBERG A USA 1 18.00 18.00

ROMAINE CA-A USA 3 19.00 57.00

BROCCOLI CROWN CROW USA 3 17.00 51.00

RABE ANDY USA 1 35.00 35.00

ASPARAGUS LG USA 1 19.00 19.00

SPINACH BUSH USA 1 22.00 22.00

SPINACH BABY BA/SP USA 14 6.50 91.00

GREEN COLLARD COALD USA 1 12.00 12.00

ALFALFA CUP USA 1 12.00 12.00

SHALLOT JAR/5LB SJ#5 USA 1, J1...06 11.00

BABY ARRUGULA BA USA 5 320:.50 52-50

PARSLEY PLAIN FULL USA 1 18.00 18.00

CILANTRO c USA 2 12.00 24.00

PEPPER GREEN GR USA 2 11.00 22.00

PEPPER RED RED USA 2 18.00 36.00

YELLOW PEPPER YELL USA 2 9.00 18.00

CUCUMBER CUM MEX 2 27.00 34.00

SQUASH GREEN GR USA 1 15.00 15.00

SQUASH YELLOW YEL MEX 1 15.00 15..00 Total Boxes: 146.0

MUSHROOM WASH 10LB USA 2 317.00 34.00 Delivery $ 189.80

MUSH SPECIAL 10SP USA 3 17.50 52.50

PORTABELLA MUS M PO#2 USA 2 9.50 19.00 Shipment 2,601.30

POTATO IDAHO 90 USA 2 19.00 38.00 | --------------------------------------------++-

ONION SPANISH SPI USA 2 14.00 28.00

ONION RED RD-J USA 1 11.06 11.00 Cash Receipt:

PINE GOLDEN GOL USA 2 11.00 22.00 | --o mmm nnn ------------ ~~ - -- ===

BANANA BNA ECU 2 15.50 31.00

BANANA Y¥.G ¥+G ECU i 15.50 15.50 Signature

PLANTAIN YELLOW Cc ECU 1 32.00 32.00

Printed on Oct 12, 2020 *#kkeKe Balance : 178,126.55

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case _1:20-cv-08786-GHW Document 9-5 Filed 10/26/20 Page 13 Dit24 10/11/2019

K&S
22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st

NY, NY 10004
212) 943-0100

 

10/06/2019 10/11/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
10/06 Sunday 0.00 0.00
10/07 Monday 3819.50 0.00
10/08 Tuesday 3533.60 0.00
10/09 Wednesday 3092.20 0.00
10/10 Thursday 2726.90 0.00
10/11 Friday 2336.60 L/1S6490
Shipped Total 15508.80 Paid Total 17156.90
Delivery Charge 0.00 Credit Memo
Credit 0.00 =
Se eS ae Date +/- Oty Item Price Amount
Sub-Total (+) 15,508.80 = 9 ----=---~------------------ +++ +--+ ee
Prev.Balance(+) 163,038.15 10/11 + 1 YGFto cr-1.3 0.00 0.00
Payment 17,156.90 Credit Total 0.00
Current Balance 161,390.05
AR Aging Report Current Balance 161,390.05
Ist Week 15,508.80 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 145,881.25 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any reccivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 9-5 Fitkede:O/A@j207-2Biage 14 OF 24 347)438-1053
INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336739
#100 Broad st
NY, NY 10004 Date 10/07/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00 | PEPPER GREEN GR USA 2 521,00 22.00
GRANNY SMITH 80 USA 1 33.00 33.00 | PEPPER RED RED USA 2 18.00 36.00
GALA APPLE 80 USA 1 38.00 38.00 | YELLOW PEPPER YELL USA 2 10.00 20.00
STAR RUBY c USA 2 34.00 68.00) JALAPINO JALPN HOL 1 14.00 14.00
POMEGRANATEs G USA 1 36.00 36.00 | CUCUMBER CUM MEX 2 17.00 34.00
SEEDLESS GREEN GR USA £ 25.00 25.00] GARLIC JAR JBOX USA 1 56.00 56.00
SEEDLESS RED RED USA 1 22.00 22.00} SHANGHAI BOKCHOY SH/BK USA 1 17.00 17.00
PEACH LOOSE c USA 1 28.00 28.00 | GINGER 10LB 10LB CHN 1 12.00 12.00
KIWI LOOSE LLOO USA 1 32.00 32.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
WATERMELON SEED USA 2 38.00 76.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
CANTALOUP Cc USA 1 19.00 19.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
HONEY DEW Cc USA 2 25.00 15.00] YAM #1 YAM USA 1 22.00 22.00
JUICE ORANGE 100 USA 2 30.00 60.00 | EGGPLANT ITALIAN ITAL USA 1 22.00 22.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | POTATO IDAHO 90 USA 1 19.00 19.00
LEMON SK SK/L USA 2 34.00 68.00] POTATO RED A BOX BOX A USA 1 30.00 30.00
STRAWBERRY CAL USA 10 15.00 150.00] CARROT LOOSE LOOSE USA 2 26.00 52.00
RASPBERRY A USA 7 25.00 175.00] ONION SPANISH SPI USA 2 14.00 28.00
BLUEBERRY A USA 7 11.00 77.00 | ONION RED RD-J USA 2 11.00 22.00
BLACKBERRY A USA 3 15.00 45.00] PINE GOLDEN GOL USA 6 11.00 66.00
AVOCADO HASS Cc USA 5 38.00 190.00 | BANANA BNA ECU 3 15.50 46.50
AVOCADO RIPE CA/RP MEX 4 39.00 156.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00 | EGG EX/LOOSE EXLOO USA 7 21.00 147.00
MANGO RIPE M/RIP MEX 15 8.00 120.00} HERBS ROSEMARY ROSE CHL 1 “he 7.50
TOMATO #1 5X6 USA 4 16.00 64.00 | SCALLION KING USA 3 14.00 42.00
TOMATO PLUM c MEX 2 19.00 38.00
TOMATO CHERRY C USA i: 25:00 15.00
TOMATO GRAPE R USA 4 10.00 40.00
LETTUCE . ICEBERG A USA 1 24.00 24.00
ROMAINE CA-A USA 4 21.00 84.00
CABBAGE GR GR USA 1 11.00 11.00
FLOWER ORCHID 100 USA 1 25.00 25.00
BROCCOLI CROWN CROW USA 5 17.00 85.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY ¢€ USA 1 20.00 20.00
SPINACH BUSH USA 1 17.00 17.00
SPINACH BABY BA/SP USA 14 6.50 91.00
GREEN LEAF GR USA 1 19.00 19.00 Total Boxes: 225.0
GREEN KALE KALE USA 5 13.00 65.00 Delivery $ : 279.50
STRINGBEAN BEAN USA 1 14.00 14.00
SNOWPEA A USA 1 22.00 22.00 Shipment 3,819.50
ALFALFA CUP USA % (22.00 12200 | meres eee ese cee eee
BRUSSEL SP LOOSE USA 2 26.00 52.00
RADICCIO.. RD/CO USA 1 14.00 14.00 Cash Receipt:
MINT A USA a 13.00 13.00 | -nr rrr rn ee es
BASIL A USA 1 16.00 16.00
BABY ARRUGULA BA USA 12 11.00 132.00 Signature
CILANTRO Cc USA 1 12.00 12.00
Printed on Oct 12, 20 kkkkkk Balance : 163,038.15

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 9-5 FiixshdlO/AG\26y-28taGe 15 OBA 347)438-1053
INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336809

#100 Broad st

NY, NY 10004 Date 10/08/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 33,..00 66.00 | YELLOW PEPPER YELL USA 2 10.00 20.00
GALA APPLE 80 USA 1 38.00 38.00] JALAPINO JALPN HOL 1 15.00 15.00
STAR RUBY Cc USA 1 35.00 35.00 | CUCUMBER CUM MEX 3 17.00 51.00
POMEGRANATES Cc USA 1 36.00 36.00 | SQUASH GREEN GR USA 1 15.00 15.00
SEEDLESS RED RED USA 1 22.00 22.00 | SQUASH YELLOW YEL MEX 1 15.00 15.00
KIWI LOOSE LLOO USA 1 36.00 36.00] GARLIC JAR JBOX USA 1 56.00 56.00
WATERMELON SEED USA 1 38.00 38.00 |} MUSHROOM WASH 10LB USA 1. 17.200 17.00
HONEY DEW c USA 1 15.00 15.00] MUSH SPECIAL 10SP USA q4, 17.56 70.00
JUICE ORANGE 100 USA 3 30.00 90.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SUNKIST ORANGE 56 USA 3 28.00 84.00 | EGGPLANT c USA 1 12.00 12.00
STRAWBERRY CAL USA 10 14.00 140.00] EGGPLANT ITALIAN ITAL USA 1 22.00 22.00
RASPBERRY A USA 7 25.00 175.00] POTATO IDAHO 90 USA 4 19.00 76.00
BLUEBERRY A USA % i2a200 77.00 | CARROT LOOSE LOOSE USA 3 26.00 78.00
BLACKBERRY A USA 2 34.00 68.00 | ONION SPANISH SPI USA 2 14.00 28.00
AVOCADO HASS c USA 5 38.00 190.00] ONION RED RD-J USA 2 11.00 22.00
AVOCADO HASS# RIPE MEX 3 39.00 117.00] PINE GOLDEN GOL USA 4 13.00 52.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00 | BANANA BNA ECU 3 15.56 46.50
MANGO RIPE M/RIP MEX 15 8.00 120.00] MESCLUN SALAD MESC USA 18 7.00 126.00
TOMATO #1 5X6 USA 2 16.00 32.00 | EGG EX/LOOSE EXLOO USA 5 21.00 105.00
TOMATO PLUM c MEX 2 19.00 38.00 | SCALLION KING USA 3 13.00 39.00
TOMATO GRAPE R USA 1 10.00 10.00
TOMATO GRAPE YE USA i £200 17.00
LETTUCE . ICEBERG A USA 1, 28.00 28.00
ROMAINE CA-A USA 4 21.00 84.00
CABBAGE GR GR USA 1 11.00 11.00
CAULIFLOWER Cc USA 2 20.00 40.00
BROCCOLI CROWN CROW USA 4 17.00 68.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 £76.00
CELERY Cc USA 1 20.00 20.00
SPINACH BUSH USA 1 18.00 18.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN COLLARD COALD USA 1 13.00 13.00
GREEN KALE KALE USA 6 13.00 78.00
FREES ITA FR/IT USA 1. 16.00 16.00
STRINGBEAN BEAN USA 1 14.00 14.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 25.00 50.00 Total Boxes: 197.0
SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00 Delivery $ 256.10
RADICCIO.. RD/CO USA 1 14.00 14.00
MINT A USA 1 13.00 13.00 Shipment 3,533.60
BASIL A USA 1 16.00 16.00 | mr rrr nena nnn nr en
BABY ARRUGULA BA USA 12 11.00 132.00
PARSLEY PLAIN FULL USA 1 18.00 18.00 Cash Receipt:
CILANTRO c USA 1 12.00 12,00! | meters see eee ee ee
BEETS 25LB LBAG CAN 1 9.00 9.00
PEPPER GREEN GR USA 1 13.00 13.00 Signature
PEPPER RED RED USA a 17.00 51.00
Printed on Oct 12, 2020 eek Balance : 166,857.65

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 9-5 FitaheL0/21/267-2Rage 16 offet-
INVOICE

347)438-1053

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336873
#100 Broad st
NY, NY 10004 Date 10/09/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 33.00 66.00 | POTATO IDAHO 90 USA 1 19.00 19.00
STAR RUBY Cc USA 1 36.00 36.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
POMEGRANATES Cc USA 1 36.00 36.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
SEEDLESS RED RED USA 1 23.00 23.00] ONION SPANISH SPI USA 2 14.00 28.00
PEACH LOOSE Cc USA 1 28.00 28.00] ONION RED RD-J USA 2 IT; 00 22.00
WATERMELON SEED USA i; 37200 37.00 | PINE GOLDEN GOL USA 5 14.00 70.00
CANTALOUP c USA 1 18.00 18.00 | BANANA BNA ECU 3. 15.50 46.50
HONEY DEW Cc USA 2 13.00 26.00 | CALABAZA Cc USA 1 18.00 18.00
JUICE ORANGE 100 USA 2 29.00 58.00] MESCLUN SALAD MESC USA 8 7.00 126.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | EGG EX/LOOSE EXLOO USA ? 2L.00 4700
STRAWBERRY CAL USA 6 14.00 84.00 | EGG BROWN/CT BR/CT USA 1 35.00 35.00
RASPBERRY A USA 3 25.00 75.00 | HERBS TARRAGON TARA CHL 1 7550 7.50
BLUEBERRY A USA 2 15.00 30.00 | HERBS CHIVE CHIV USA 1 10.00 10.00
BLACKBERRY A USA 3 25.00 75.00) YUKON A BOX Y ABO USA i: 22:00 32.00
AVOCADO HASS# RIPE MEX 7 440.00 280.00 | SCALLION KING USA 2 15.00 30.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00 | SQUASH KABOCHA KABO MEX 1 17.00 17.00
MANGO RIPE M/RIP MEX 15 8.00 120.00
LIME 48 MEX 1 10.00 10.00
TOMATO #1 5X6 USA 4 18.00 72.00
TOMATO PLUM Cc MEX 2 18.00 36.00
TOMATO CHERRY Cc USA 1 14.00 14.00
TOMATO GRAPE R USA 2 10.00 20.00
ROMAINE CA-A USA 4 21.00 84.00
CAULIFLOWER Cc USA 2 22.00 44.00
FLOWER ORCHID 100 USA 2 16.00 32.00
BROCCOLI CROWN CROW USA 3 16.00 48.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 5 13.00 65.00
STRINGBEAN BEAN USA 1 14.00 14.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA = 27.00 54.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 4 11.00 44.00
CILANTRO c USA 1 12.00 12.00
BEETS 25LB LBAG CAN 1 9.00 9.00 Total Boxes: 174.0
PEPPER GREEN GR USA 2 23:00 26.00 Delivery s 226.20
PEPPER RED RED USA 2 15.00 30.00
YELLOW PEPPER YELL USA 2 10.00 20.00 Shipment 3,092.20
JALAPINO JALPN HOL 1 16.00 16.00 | ----------------------------- === -- ===
CUCUMBER CUM MEX 1 21.00 21.00
SQUASH GREEN GR USA 1 14.00 14.00 Cash Receipt:
GARLIC JAR JBOX USA 1 56.00 56.00 | ---------- 3-3-3
MUSHROOM WASH 10LB USA 4 17.00 68.00
MUSH SPECIAL 10SP USA & 17,50 70.00 Signature
PORTABELLA MUS M PO#2 USA 2 9.50 19.00
Printed on Oct 12, 2020 *e#ekekke Balance : 170,391.25

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved,
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 9-5 Phinse:1 688078 Bage 17 bRg4 347)438-1053
INVOICE
ShipTo: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 336946
#100 Broad st
NY, NY 10004 Date 10/10/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00] ONION RED RD-J USA 2 11.00 22.00
GRANNY SMITH 80 USA 2 30.00 60.00| TOFU s USA 1 13.50 13.50
STAR RUBY c USA 1 34.00 34.00| PINE GOLDEN GOL USA 2 14.00 28.00
POMEGRANATES c USA 1 36.00 36.00] BANANA BNA ECU 2 15.50 31.00
KIWI LOOSE LLOO USA 1 32.00 32.00] PLANTAIN YELLOW c ECU 1 32.00 32.00
WATERMELON SEED USA 1 37.00 37.00] MESCLUN SALAD MESC USA 14 7.00 98.00
JUICE ORANGE 100 USA 2 29.00 58.00| EGG EX/LOOSE EXLOO USA 7 21.00 147.00
SUNKIST ORANGE 56 USA 2 28.00 56.00] HERBS THYME THYM CHL 1 7.50 7.50
LEMON SK SK/L USA 1 35.00 35.00| MONEY PICK UP $$$ Oo 0.00 0.00
STRAWBERRY CAL USA 9 12.00 108.00] SCALLION KING USA 2 17.00 34.00
RASPBERRY A USA 5 22.00 110.00
BLUEBERRY A USA 6 13.00 78.00
BLACKBERRY A USA 2 18.00 36.00
AVOCADO HASS c USA 4 38.00 152.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00
MANGO RIPE M/RIP MEX 15 £8.00 120.00
TOMATO #1 5x6 USA 3 19.00 57.00
TOMATO PLUM Cc MEX 2 19.00 38.00
TOMATO GRAPE R USA 3 9.00 27.00
TOMATO GRAPE YE USA 1 18.00 18.00
LETTUCE . ICEBERG A USA 1 34.00 34.00
ROMAINE CA-A USA 4 22.00 88.00
CAULIFLOWER c USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 3 16.00 48.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 19.00 57.00
CELERY G USA 2 18.00 36.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 2 13.00 26.00
SUGAR SNAPEA SNAP PER 1 22.00 22.00
BASIL A USA 1 17.00 17.00
BABY ARRUGULA BA USA 8 11.00 88.00
CILANTRO c USA 1 12.00 12.00
BEETS 25LB LBAG CAN 2. 9.00 18.00
PEPPER GREEN GR USA 2 13.00 26.00
PEPPER RED RED USA 1 18.00 18.00
YELLOW PEPPER YELL USA 2 10.00 20.00| Total Boxes: 158.0
CUCUMBER CUM MEX 2 17.00 34.00] Delivery $ 205.40
SQUASH GREEN GR USA 1 13.00 13.00
SQUASH YELLOW YEL MEX 1 17.00 17.00] Shipment 2,726.90
MUSHROOM WASH LOLB USA 1. 17.00 = 17.00 | —-n— en
MUSH SPECIAL 10SP USA 4 17.50 70.00
PORTABELLA MUS M PO#2 USA 3 9.50 28.50] Cash Receipt:
EGGPLANT c USA 112.00) 3=— 12.00 | —- n-ne on
POTATO IDAHO 90 USA 2 19.00 38.00
CARROT LOOSE LOOSE USA 2 26.00 52.00] Signature
ONION SPANISH SPI USA 1 14.00 14.00
Printed on Oct 12, 2020 *eeee* Balance : 173,483.45

The perishable agricultural commodities listed on this invoice are sold
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commo
products derived from these commodities and any receivables or procee

subject to the statutory trust authorized by section 5(c)
dities retains a trust claim over these commodities, all i )
d from the sale of these commodities until full payment is recieved.

of the perishable agricultural
nventories of food or other
K&S

Case 1:20-cv-08786-GHW_ Document 9-5 Pam 14/387 Bage 19 BPS 4 As NO*

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 337004
#100 Broad st
NY, NY 10004 Date 10/11/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
STAR RUBY c USA 1 35.00 35.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
SEEDLESS GREEN GR USA 1 25.00 25.00 | EGG EX/LOOSE EXLOO USA 8 21.00 168.00
SEEDLESS RED RED USA 1 22.00 22.00| MONEY PICK UP $$$ Oo 860.00 0.00
WATERMELON SEED USA © 37.60 37.00 | SCALLION KING USA 1 18.00 18.00
CANTALOUP C USA 1 19.00 19.00
HONEY DEW c USA 1 17.00 17.00
JUICE ORANGE 100 USA 6 29.00 174.00
SUNKIST ORANGE 56 USA 4 28.00 112.00
STRAWBERRY CAL USA 8 12.00 96.00
RASPBERRY A USA 4 20.00 80.00
BLUEBERRY A USA 6 18.00 108.00
BLACKBERRY A USA 2 24.00 48.00
AVOCADO HASS c USA 5 37.00 185.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00
MANGO RIPE M/RIP MEX 10 8.00 80.00
TOMATO #1 5X6 USA 3 19.00 57.00
TOMATO PLUM Cc MEX 1 19.00 19.00
TOMATO CHERRY c USA 1 14.00 14.00
TOMATO GRAPE R USA 1 9.00 9.00
TOMATO GRAPE YE USA 1 0.00 0.00
TOMATILLO ORG MEX 1 2Li.00 11.00
ROMAINE CA-A USA 2 21.00 42.00
CABBAGE GR GR USA 1 11.00 11.00
BROCCOLI CROWN CROW USA 2 16.00 32.00
ASPARAGUS LG USA 1 19.00 19.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 8 6.50 52.00
ENDIVES A USA 1 18.00 18.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 27.00 27.00
RADICCIO.. RD/CO USA 1 13.00 13.00
BABY ARRUGULA BA USA 5 11.00 55.00
CILANTRO Cc USA 41. 2206 12.00
PEPPER GREEN GR USA 1 13.00 13.00
PEPPER RED RED USA 2 18.00 36.00 Credit : 1.30
YELLOW PEPPER YELL USA 2 10.00 20.00
CUCUMBER CUM MEX 2 23.00 46.00
SQUASH YELLOW YEL MEX 1 16.00 16.00 Total Boxes: 128.0
GARLIC JAR JBOX USA 1 56.00 56.00| Delivery $ 166.40
GINGER 10LB 10LB CHN 1 12.00 12.00
POTATO IDAHO 90 USA 2 20.00 40.00] Shipment : 2,336.60
POTATO RED A BOX BOX A USA 1 25.00 DE OO mm
CARROT LOOSE LOOSE USA 1 26.00 26.00
ONION SPANISH SPI USA 2 14.00 28.00 Cash Receipt:
ONION RED RD-J USA 2 11.00 DVD OO | mm SS EE
PINE GOLDEN GoL USA 3 14.00 42.00
BANANA BNA ECU 2 15,50 31.00 Signature :
BANANA Y.G ¥4+G ECU 1 15.50 15.50
Printed on Oct 12, 2020 kkkekkk Balance : 176,210.35

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act. 1930(7 U.S.C, 499(E\(C)). The seller of these commo
products derived from these commodities and any receivables or procee

dities retains a trust claim over these commodities, all inventories of food or other
d from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 9-5 Filed 10/26/20 Page 19 phiet 10/18/2019
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st
NY, NY 10004 10/13/2019 10/18/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
10/13 Sunday 0.00 0.00
10/14 Monday 3025.60 0.00
10/15 Tuesday 2590.90 0.00
10/16 Wednesday 3316.50 0.00
Los LY Thursday 3318.30 0.00
10/18 Friday 2804.20 18639.75
Shipped Total 15055.50 Paid Total 18639.75
Delivery Charge 0.00 Credit Memo
Credit 0.00 as =
Strom tts see Date +/- Oty Item Price Amount
Sub-Total (#) 15,055.50 9 --rnweeen cee ene nn ene none
Prev.Balance(+) 161,390.05 No credit has been recorded
Payment 18,639.75
Current Balance 157,805.80
AR Aging Report Current Balance 157,805.80
Ist Week 15,055.50 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 142,750.30 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 9-5 AitedeL0/Q6/20-2&age 20 ofe4
INVOICE

347)438-1053

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 337085
#100 Broad st
NY, NY 10004 Date 10/14/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00 | POTATO IDAHO 90 USA 1 21.00 21.00
GRANNY SMITH 80 USA 1 30.00 30.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
GALA APPLE 80 USA 1 38.00 38.00] CARROT LOOSE LOOSE USA 1 25.00 25.00
STAR RUBY Cc USA 1 34.00 34.00] ONION SPANISH SPI USA 2 14.00 28.00
POMEGRANATES Cc USA 1 36.00 36.00] ONION RED RD-J USA 1 11.00 11.00
SEEDLESS GREEN GR USA 1 25.00 25.00} PINE GOLDEN GOL USA 6 14.00 84.00
SEEDLESS RED RED USA 1 22.00 22.00 | BANANA BNA ECU 3 15.50 46.50
PEACH LOOSE c USA 1 28.00 28.00 | PLANTAIN YELLOW c ECU 1 32.00 32.00
KIWI LOOSE LLOO USA L 32.00 32.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
WATERMELON SEED USA 2 38.00 76.00 | CELERY CHOP BOX USA 1 36.00 36.00
CANTALOUP Cc USA 1 20.00 20.00] EGG EX/LOOSE EXLOO USA 5 21.00 105.00
HONEY DEW Cc USA 1 20.00 20.00 | SCALLION KING USA 3 16.00 48.00
JUICE ORANGE 100 USA 3 29.00 87.00 | SQUASH BUTTERNUT BUTN USA 1 17.00 17.00
SUNKIST ORANGE 56 USA 3 28.00 84.00
STRAWBERRY CAL USA 10 17.00 170.00
RASPBERRY A USA 7 19.00 133.00
BLUEBERRY A USA 7 10.00 70.00
BLACKBERRY A USA 3 24.00 72.00
AVOCADO HASS co USA 7 37.00 259.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00
MANGO RIPE M/RIP MEX 20 8.00 160.00
TOMATO PLUM c MEX 1 24.00 24.00
LETTUCE . ICEBERG A USA 1 38.00 38.00
ROMAINE CA-A USA 1 22.00 27.00
BROCCOLI CROWN CROW USA 2 16.00 32.00
RABE ANDY USA 2 35.00 70.00
ASPARAGUS LG USA 2 19.00 38.00
CELERY Cc USA 1 20.00 20.00
SPINACH BUSH USA 1 18.00 18.00
SPINACH BABY BA/SP USA 7 6.50 45.50
GREEN COLLARD COALD USA 1 13.00 13.00
GREEN KALE KALE USA 4 13,00 52.00
STRINGBEAN BEAN USA 1 20.00 20.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 28.00 56.00
PARSLEY PLAIN FULL USA 1 18.00 18.00
PEPPER GREEN GR USA 24.00 14.00
PEPPER RED RED USA 2 21.00 42.00 Total Boxes: 157.0
YELLOW PEPPER YELL USA 1 ‘12:00 12.00 Delivery $ 204.10
JALAPINO JALPN HOL 1 ‘15.00 15.00
CUCUMBER CUM MEX 1 21.00 21.00 Shipment 3,025.60
SQUASH GREEN GR USA 1 14.00 14.200 | eoncesce re cr cn ee
GARLIC JAR JBOX USA 1 56.00 56.00
SHANGHAI BOKCHOY SH/BK USA 1, 2700 17.00 Cash Receipt:
GINGER 10LB 10LB CHN 1 12.00 12500 | =o eesti ee ieee
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 4 17.50 70.00 Signature
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
Printed on Oct 12, 2020 xe*ek* Balance : 161,390.05

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-5 FAthede10728/20-28age 21 OF R4 347/438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 337139
#100 Broad st
NY, NY 10004 Date 10/15/2019
Item Type Origin QTY Price | Amount | Item Type Origin QTY Price Amount
SEEDLESS RED RED USA 1 22.00 22.00 | CIDER 1/2G USA 1 27.00 27.00
HONEY DEW ic USA 1 20.00 20.00] MESCLUN SALAD MESC USA 15 7.00 105.00
LEMON SK SK/L USA 1 37.00 37.00 | EGG EX/LOOSE EXLOO USA 7 21.00 147.00
STRAWBERRY CAL USA 5 16.00 80.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
RASPBERRY A USA 5 22.00 110.00] HERBS THYME THYM CHL 1 7.50 7.50
BLACKBERRY A USA 2 18.00 36.00} YUKON A BOX ¥Y ABO USA 1 34.00 34.00
AVOCADO HASS < USA 4 37.00 148.00} SCALLION KING USA 2 17.00 34.00
PAPAYA RED RIPE RIPE MEX 1 27.00 27.00 | SQUASH BUTTERNUT BUTN USA 1 17.00 17.00
MANGO RIPE M/RIP MEX 10 8.00 80.00
TOMATO #1 5X6 USA 4 19.00 76.00
TOMATO PLUM c MEX 2 23.00 46.00
TOMATO CHERRY Cc USA 1 16.00 16.00
TOMATO GRAPE R USA 4 11.00 44.00
TOMATO GRAPE YE USA 1 20.00 20.00
ROMAINE CA-A USA 4 26.00 104.00
CABBAGE GR GR USA 1, 12.00 12.00
CABBAGE RED RED USA Ll 173.06 17.00
CAULIFLOWER Cc USA 1 29.00 29.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY Cc USA 1 20.00 20.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 3 13.00 39.00
BRUSSEL SP LOOSE USA 2 28.00 56.00
SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA BA USA 10 11.00 110.00
CILANTRO c USA 2 12.00 24.00
PEPPER GREEN GR USA 2 12.00 24.00
PEPPER RED RED USA 2 22.00 44.00
YELLOW PEPPER YELL USA 2 11.00 22.00
JALAPINO JALPN HOL 1 14.00 14.00
SQUASH GREEN GR USA 1 12.00 12.00
SQUASH YELLOW YEL MEX 2. -23..00 13.00
GARLIC JAR JBOX USA 1 56.00 56.00 Total Boxes: 148.0
MUSHROOM WASH 10LB USA 2 SET 00 34.00 Delivery § : 192.40
MUSH SPECIAL 10SP USA 4 17.50 70.00
YAM #1 YAM USA 1 22.00 22.00 Shipment : 2,590.90
POTATO IDAHO 90 USA 2 21.00 422500 | sso soso e Ses ee ee te ee
CARROT LOOSE LOOSE USA 1. 25:00 25.00
ONION SPANISH SPI USA 2 14.00 28.00 Cash Receipt
ONION RED RD-J USA 2 11.00 2200: |) sass aes Se eS eee es
TOFU s USA 1 13.50 13.50
BANANA BNA ECU 2 15.50 31.00 Signature
PLANTAIN YELLOW c ECU 1 32.00 32.00
Printed on Oct 12, 2020 kkee** Balance : 164,415.65

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 9-5 Fiteshd.O/P@\907- RADE 22 OfF24. 347)438-1053
INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 337174

#100 Broad st

Ny, NY 10004 Date 10/16/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 30.00 60.00 | SQUASH GREEN GR USA 1 14.00 14.00
STAR RUBY Cc USA 1 32.00 32.00] SQUASH YELLOW YEL MEX 1 13.00 13.00
POMEGRANATES c USA 1 36.00 36.00 | GARLIC JAR JBOX USA 1 56.00 56.00
PEACH LOOSE c USA 1 26.00 26.00) GINGER 10LB 10LB CHN 1 12.00 12.00
WATERMELON SEED USA 1 38.00 38.00 |} MUSHROOM WASH 10LB USA 2 17.00 34.00
CANTALOUP Cc USA 1 20.00 20.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
HONEY DEW c USA 1 20.00 20.00 | PORTABELLA MUS M PO#2 USA 5 9.50 47.50
JUICE ORANGE 100 USA 3 29.00 87.00 | EGGPLANT c USA 1 13.00 13...00
SUNKIST ORANGE 56 USA 1 28.00 28.00] EGGPLANT ITALIAN ITAL USA Ll 22.00 22.00
LEMON SK SK/L USA 1 35.00 35.00 | POTATO IDAHO 90 USA 3 21.00 63.00
STRAWBERRY CAL USA 4 16.00 64.00 | CARROT LOOSE LOOSE USA 2 25.00 50.00
RASPBERRY A USA 2 15.00 30.00 | ONION SPANISH SPI USA 2 14.00 28.00
BLUEBERRY A USA 5 18.00 90.00 | ONION RED RD-J USA 2 J1200 22.00
BLACKBERRY A USA 2 15.00 30.00] PINE GOLDEN GOL USA 5 14.00 70.00
AVOCADO HASS Cc USA 7 38.00 266.00] BANANA BNA ECU 2 15.50 31.00
PAPAYA RED RIPE RIPE MEX 1 27.00 27.00] YUCA DOM EUC 1 25.00 25.00
MANGO RIPE M/RIP MEX 10 8.00 80.00 | MESCLUN SALAD MESC USA 22 7.00 154.00
LIME 48 MEX 1 10.00 10.00} EGG EX/LOOSE EXLOO USA 7 21.00 147.00
TOMATO #1 5X6 USA 4 21.00 84.00 | SCALLION KING USA 1 17.00 17.00
TOMATO PLUM Cc MEX 2 26.00 52.00
TOMATO CHERRY c USA 2 14.00 28.00
TOMATO GRAPE R USA 3 11.00 33.00
TOMATO GRAPE YE USA 1 17.00 17.00
LETTUCE . ICEBERG A USA 1 38.00 38.00
ROMAINE CA-A USA 4 27.00 108.00
CAULIFLOWER CG USA 2 22.00 44.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
CELERY c USA 1 20.00 20.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 16 6.50 104.00
GREEN COLLARD COALD USA 1 13.00 14.00
GREEN KALE KALE USA 4 13.00 52.00
STRINGBEAN BEAN USA 1 28.00 28.00
SNOWPEA A USA 1 32.00 32.00
ALFALFA CUP USA 1 12.00 12.00
SHALLOT JAR/5LB So#5 USA 1 11.00 11.00 Total Boxes: 190.0
RADICCIO.. RD/CO USA 1 13.00 13.00 Delivery $ : 247.00
BASIL A USA 1 18.00 18.00
BABY ARRUGULA BA USA 12 11.00 132.00 Shipment 33316... 50
CILANTRO c USA 1 12.00 42.09 | =< Seen ee
DILL 6PCS USA 1 3.00 3.00
BEETS 25LB LBAG CAN 1 9.00 9.00 Cash Receipt:
PEPPER GREEN GR USA 2 13.00 Se | ir RE a
PEPPER RED RED USA 2 21.00 42.00
YELLOW PEPPER YELL USA 2 21../008 22.00 Signature :
CUCUMBER CUM MEX 3 18.00 54.00
Printed on Oct 12, 2020 **kke* Balance : 167,006.55

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-5 Fihesk10/26/20-298age 23 afak4 347)438-1053

INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. S572 5:1.
#100 Broad st
NY, NY 10004 Date 10/17/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 2, '92. 06 32.00 | SHANGHAI BOKCHOY SH/BK USA 1 16.00 16.00
GRANNY SMITH 80 USA 1 30.00 30.00 | MUSHROOM WASH 10LB USA % D700 17.00
STAR RUBY Cc USA 2 28.00 56.00 | MUSH SPECIAL 10SP USA 3 17.50 52.50
POMEGRANATES Cc USA 1 36.00 36.00 | PORTABELLA MUS M Po#2 USA 4 9.50 38.00
SEEDLESS GREEN GR USA 1 25.00 25.00 | EGGPLANT c USA 1 13.00 13.00
SEEDLESS RED RED USA 1 23.00 23.00 | POTATO IDAHO 90 USA 2 #1200 42.00
WATERMELON SEED USA 1 38.00 38.00] POTATO RED A BOX BOX A USA 1 26.00 26.00
CANTALOUP Cc USA 1 20.00 20.00 | CARROT LOOSE LOOSE USA 2 25.00 50.00
HONEY DEW Cc USA 1 20.00 20.00 | ONION SPANISH SPI USA 2 14.00 28.00
JUICE ORANGE 100 USA 3 29.00 87.00 | ONION RED RD-J USA 2 11.00 22.00
STRAWBERRY CAL USA 10 12.00 120.00/ PINE GOLDEN GOL USA 5 14.00 70.00
RASPBERRY A USA 7 12.00 84.00 | BANANA BNA ECU 3 15.50 46.50
BLUEBERRY A USA 5 20.00 100.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
BLACKBERRY A USA 2 22.00 44.00] EGG EX/LOOSE EXLOO USA 7 21.00 147.00
AVOCADO HASS# RIPE MEX 8 41.00 328.00 | SCALLION KING USA 1 27.00 17.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00
MANGO RIPE M/RIP MEX 15 7.00 105.00
LIME 48 MEX 1 9.00 9.00
TOMATO #1 5X6 USA 4 21.00 84.00
TOMATO PLUM c MEX 2 26.00 52.00
TOMATO CHERRY c USA 1 14.00 14.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 19.00 19.00
YEIIOW,. TOMATO YTO USA 1 17.00 17.00
LETTUCE . ICEBERG A USA 1 38,00 38.00
ROMAINE CA-A USA 4 27.00 108.00
CAULIFLOWER c USA 2 22.00 44.00
BROCCOLI CROWN CROW USA 3 16.00 48.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 19.00 76.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 16 6.50 104.00
GREEN LEAF GR USA 1 19.00 19.00
GREEN KALE KALE USA 5 13.00 65.00
STRINGBEAN BEAN USA 1 32.00 32.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 28.00 56.00
RADICCIO.. RD/CO USA ZL 13,00 13.00 Total Boxes: 191.0
BASIL A USA 1 19.00 19.00 Delivery $ 248.30
BABY ARRUGULA BA USA 8 10.50 84.00
CILANTRO Cc USA 1 12.00 12.00 Shipment 3, 54.8:..30
BEETS 25LB LBAG CAN 2 9.00 Lee Q | sees SSS Se a an ee ee
PEPPER GREEN GR USA 2 12.00 24.00
PEPPER RED RED USA 3 22.00 66.00 Cash Receipt:
YELLOW PEPPER SEER USK 2 10.00 20200) | emer mnne nee
JALAPINO JALPN HOL 1 13.00 13.00
CUCUMBER CUM MEX 2 17.00 34.00 Signature
SQUASH GREEN GR USA 1 14.00 14.00
Printed on Oct 12, 2020 eeeeee Balance : 170,323.05

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-5 Fitiaché0/218/267-28age 24 Of24. 347)438-1053

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 337315

#100 Broad st

NY, NY 10004 Date 10/18/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1: 332,60 32.00] CARROT LOOSE LOOSE USA 1 25.00 25.00
GRANNY SMITH 80 USA 1 30.00 30.00 | ONION SPANISH SPI USA 1 14.00 14.00
STAR RUBY Cc USA 1 28.00 28.00} ONION RED RD-J USA 2 2.200 22.00
POMEGRANATES Cc USA 1 36.00 36.00] PINE GOLDEN GOL USA 2 14.00 28.00
SEEDLESS RED RED USA 1 22.00 22.00 | BANANA BNA ECU 2 15.50 31.00
WATERMELON SEED USA 1 38.00 38.00} BANANA Y.G Y+G ECU 1 15.50 15.50
HONEY DEW c USA 1 20.00 20.00 | PLANTAIN YELLOW Cc ECU i: 32.00 32.00
JUICE ORANGE 100 USA 9 29.00 261.00| CIDER 1/2G USA 1 27.00 27.00
SUNKIST ORANGE 56 USA 3 28.00 84.00] MESCLUN SALAD MESC USA 10 7.00 70.00
LEMON SK SK/L USA 1 38.00 38.00 | EGG EX/LOOSE EXLOO USA 9 21.00 189.00
STRAWBERRY CAL USA 8 16.00 128.00] EGG BROWN/CT BR/CT USA 1 35.00 35.00
RASPBERRY A USA 4 16.00 64.00 | YUKON A BOX Y ABO USA 1 34.00 34.00
BLUEBERRY A USA 4 19.00 76.00] MONEY PICK UP $$$ Oo 860.00 0.00
BLACKBERRY A USA 2 22.00 44.00] SCALLION KING USA 1 17.00 17.00
AVOCADO HASS# RIPE MEX 4 41.00 164.00
PAPAYA RED RIPE RIPE MEX 1 26.00 26.00
MANGO RIPE M/RIP MEX 10 8.00 80.00
TOMATO #1 5X6 USA 3 22.00 66.00
TOMATO PLUM Cc MEX 1 26.00 26.00
TOMATO CHERRY & USA 1 14.00 14.00
TOMATO GRAPE R USA 1 10.00 10.00
LETTUCE . ICEBERG A USA 1 32.00 32.00
ROMAINE CA-A USA 3 26.00 78.00
CABBAGE GR GR USA 1 12.00 12.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 2 16.00 32.00
ASPARAGUS LG USA 2 19.00 38.00
CELERY c USA 1 20.00 20.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN COLLARD COALD USA 2 13.00 26.00
GREEN KALE KALE USA 1 13.00 13.00
ALFALFA CUP USA 1 12.00 12.00
RADICCIO.. RD/CO USA 1 13.00 13.00
BABY ARRUGULA BA USA 4 10,50 42.00
CILANTRO Cc USA 1. A200 12..006
PEPPER GREEN GR USA 1 12.00 12.00 Total Boxes: 144.0
PEPPER RED RED USA 4 14.00 56.00 Delivery $ : 187.20
YELLOW PEPPER YELL USA 1 11.00 11...00
JALAPINO JALPN HOL 1 13.00 13.00 Shipment : 2,804.20
SQUASH GREEN GR USA 1 14.00 14.00 | -------- 9-3 rn nn nnn en nee
SQUASH YELLOW YEL MEX 1 12.00 12.00
PUMPKIN L USA 4 6.00 24.00 Cash Receipt:
P/PUMPKIN SM P/SM USA 1 70.00 (0. 00) | samme eee ene ee eee
MUSHROOM WASH 10LB USA 4 17.00 68.00
MUSH SPECIAL 10SP USA 1. 27.50 17.50 Signature
POTATO IDAHO 90 USA 1 23.00 23.00

 

 

 

Printed on Oct 12, 2020

kekkke Balance : 173,641.35

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved,
